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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TENNESSEE

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 STEPHEN SAMPLES

                         Plaintiff,

         v.                                               Civil Action No.

 THE BRACHFELD LAW GROUP, PC

                          Defendant.
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                                   NATURE OF ACTION

         1.      This is an action brought under the Fair Debt Collection Practices

 Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

                              JURISDICTION AND VENUE

         2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28

 U.S.C. § 1331.

         3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

 where the acts and transactions giving rise to Plaintiff’s action occurred in this

 district, (where Plaintiff resides in this district), and/or where Defendant transacts

 business in this district.

                                            PARTIES

         4.      Plaintiff, Stephen Samples (“Plaintiff”), is a natural person who at

 all relevant times resided in the State of Tennessee, County of Rutherford, and

 City of Smyrna.



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        5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

        6.     Defendant, The Brachfeld Law Group, PC (“Defendant”) is an entity

 who at all relevant times was engaged, by use of the mails and telephone, in the

 business of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C.

 §1692a(5).

        7.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                           FACTUAL ALLEGATIONS

        8.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a

 debt owed or due, or asserted to be owed or due a creditor other than Defendant.

        9.     Plaintiff's obligation, or alleged obligation, owed or due, or asserted

 to be owed or due a creditor other than Defendant, arises from a transaction in

 which the money, property, insurance, or services that are the subject of the

 transaction were incurred primarily for personal, family, or household purposes.

 Plaintiff incurred the obligation, or alleged obligation, owed or due, or asserted to

 be owed or due a creditor other than Defendant.

        10.    Defendant uses instrumentalities of interstate commerce or the mails

 in a business the principal purpose of which is the collection of any debts, and/or

 regularly collects or attempts to collect, directly or indirectly, debts owed or due,

 or asserted to be owed or due another.

        11.    Defendant sent initial written communication to Plaintiff dated

 September 11, 2009 in which Defendant stated, in relevant part:

        (a)   “Our law firm has been retained to collect from you the Total Amount


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        Due listed above.”

        (b) “If you want to resolve this matter, please either pay the Total Amount

 Due or call our Law Firm at 888-856-2120 and work out arrangements for

 payment. If you do neither of these things, we will continue our collection efforts

 for the collection of this debt.”

        (c) “At this time, no attorney with this firm has presently reviewed the

 particular circumstances of your account.”

        12.    This letter was placed on Defendant’s law firm letterhead and stated

 that Defendant had been “retained” by the Creditor.

        13.    Furthermore, Defendant’s multiple references to its being a “law

 firm” was designed to lead a Plaintiff to believe that when Defendant stated “we

 will continue our collection efforts for the collection of this debt,” it meant that

 Defendant could file a lawsuit against Plaintiff.

        14.    However, no attorney that is a member or employee of Defendant’s

 firm is licensed to practice law in the state of Tennessee, making Defendant’s

 overtures a false representation of the level of meaningful attorney involvement in

 the collections process. (15 U.S.C. §§ 1692e(3), 1692e(10)).

        15.    Defendant’s actions constitute conduct highly offensive to a

 reasonable person, and as a result of Defendant’s behavior Plaintiff suffered and

 continues to suffer injury to Plaintiff’s feelings, personal humiliation,

 embarrassment, mental aguish and/or emotional distress.




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                                          COUNT I

          16.      Plaintiff repeats and re-alleges each and every allegation contained

 above.

          17.      Defendant violated the FDCPA as detailed above.

          WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                a) Adjudging that Defendant violated the FDCPA;

                b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                   in the amount of $1,000.00;

                c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

                d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

                   this action;

                e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                   may be allowed under the law;

                f) Awarding such other and further relief as the Court may deem just

                   and proper.

                                     TRIAL BY JURY

          18.             Plaintiff is entitled to and hereby demands a trial by jury.




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 Dated: September 2, 2010
                                 Respectfully submitted,
                                 Stephen Samples

                                 By: /s/Craig Ehrlich
                                 Craig Ehrlich
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